     Case 2:22-cv-04998-RGK-E Document 33 Filed 11/08/22 Page 1 of 1 Page ID #:94



 1                                                                                     No JS-6
 2
 3
 4
 5
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10   BERNHARD KUHMSTEDT,                         )       Case No. 2:22-cv-04998-RGK-Ex
                                                 )
11                         Plaintiff(s),         )
                                                 )       ORDER DISMISSING CERTAIN
12   vs.                                         )       DEFENDANT FOR LACK OF
                                                 )       PROSECUTION
13   SPOTIFY USA, INC. et al.,                   )
                                                 )
14                         Defendant(s).         )
                                                 )
15
16          On October 28, 2022, the Court issued an Order to Show Cause [31] re: dismissal of
17   certain defendant/s for lack of prosecution, namely for failure to timely serve the Summons and
18   Complaint. Plaintiff timely filed a response on November 4, 2022 which failed to show good
19   cause as to why the Court should not dismiss certain defendants for lack of prosecution.
20   Therefore, the Court orders that defendants 1) Deezer S.A., 2) Tero Entertainment Public Co.,
21   Ltd., 3) Demon Music Group Limited be dismissed for lack of prosecution.
22          IT IS SO ORDERED.
23
     Dated: November 8, 2022
24                                                       R. GARY KLAUSNER
                                                         UNITED STATES DISTRICT JUDGE
25
26
27
28
